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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




ANASTACIO SALVADOR
RODRIGUEZ,

                       Plaintiff,
                                                  Civil Action No. 16-0977 (DLF)
       v.

ADAMS RESTAURANT GROUP, et al.,

                       Defendants.


                                     ORDER OF JUDGMENT

       For the reasons stated by the Court on December 20, 2018, it is ADJUDGED AND

ORDERED as follows:

       1. The plaintiff is granted judgment against the defendants in the amount of $179,459.88

based on the following: (1) compensatory damages are awarded in the amount of $44,864.97 for

unpaid overtime wages and (2) liquidated damages are awarded in the amount of $134,594.91

pursuant to D.C. Code § 32-1012(b).

       2. The plaintiff’s motion for attorney’s fees shall be filed on or before January 21, 2019;

the defendants’ opposition shall be filed on or before February 20, 2019; and the plaintiff’s reply

shall be filed on or before March 6, 2019.



                                                             ________________________
                                                             DABNEY L. FRIEDRICH
                                                             United States District Judge
December 21, 2018
